        Case 1:21-cr-00492-RDM Document 31 Filed 04/08/22 Page 1 of 6




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA



 UNITED STATES OF AMERICA                           Case No: 21-cr-492 (RDM)



                                                    18 U.S.C. § 1752(a)(1)

         v.

 JEREMY GRACE,

         Defendant.



                                  STATEMENT OF OFFENSE

        Pursuant to Federal Rule of Criminal Procedure 11, the United States of America, by and

through its attorney, the United States Attorney for the District of Columbia, and the defendant,

Jeremy Grace, with the concurrence of his attorney, agree and stipulate to the below factual basis

for the defendant's guilty plea-that is, if this case were to proceed to trial, the parties stipulate

that the United States could prove the below facts beyond a reasonable doubt:

                         The Attack at the U.S. Capitol on January 6, 2021

        1.       The U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is

secured 24 hours a day by U.S. Capitol Police. Restrictions around the U.S. Capitol include

pennanent and temporary security barriers and posts manned by U.S. Capitol Police. Only

authorized people with appropriate identification are allowed access inside the U.S. Capitol.

       2.        On January 6, 2021, the exterior plaza of the U.S. Capitol was closed to members

of the public.
         Case 1:21-cr-00492-RDM Document 31 Filed 04/08/22 Page 2 of 6




        3.       On January 6, 2021, a joint session of the United States Congress convened at the

United States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint

session, elected members of the United States House of Representatives and the United States

Senate were meeting in separate chambers of the United States Capitol to certify the vote count

of the Electoral College of the 2020 Presidential Election, which had taken place on November

3, 2020. The joint session began at approximately 1:00 p.m. Shortly thereafter, by

approximately 1:30 p.m., the House and Senate adjourned to separate chambers to resolve a

particular objection. Vice President Mike Pence was present and presiding, first in the joint

session, and then in the Senate chamber.

        4.      As the proceedings continued in both the House and the Senate, and with Vice

President Pence present and presiding over the Senate, a large crowd gathered outside the U.S.

Capilul. As noted above, temporary and permanent barricades were in place around the exterior

of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep the

crowd away from the Capitol building and the proceedings underway inside.

        5.      At approximately 2:00 p.m., certain individuals in the crowd forced their way

through, up, and over the barricades, and officers of the U.S. Capitol Police, and the crowd

advanced to the exterior fac;:ade of the building. The crowd was not lawfully authorized to enter

or remain in the building and, prior to entering the building, no members of the crowd submitted

to security screenings or weapons checks by U.S. Capitol Police Officers or other authorized

security officials.

        6.      At such time, the certification proceedings were still underway and the exterior

doors and windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S.

Capitol Police attempted to maintain order and keep the crowd from entering the Capitol;



                                            Page 2 of6
        Case 1:21-cr-00492-RDM Document 31 Filed 04/08/22 Page 3 of 6




however, shortly after 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol,

including by breaking windows and by assaulting members of law enforcement, as others in the

crowd encouraged and assisted those acts. The riot resulted in substantial damage to the U.S.

Capitol, requiring the expenditure of more than $1.4 million dollars for repairs.

        7.     Shortly thereafter, at approximately 2:20 p.m., members of the United States

House of Representatives and United States Senate, including the President of the Senate, Vice

President Pence, were instructed to-and did-evacuate the chambers. Accordingly, all

proceedings of the United States Congress, including the joint session, were effectively

suspended until shortly after 8:00 p.m. the same day. In light of the dangerous circumstances

caused by the unlawful entry to the U.S. Capitol, including the danger posed by individuals who

had entered the U.S. Capitol without any security screening or weapons check, Congressional

proceedings could not resume until after every unauthorized occupant had left the U.S. Capitol,

and the building had been confirmed secured. The proceedings resumed at approximately 8:00

p.m. after the building had been secured. Vice President Pence remained in the United States

Capitol from the time he was evacuated from the Senate Chamber until the session resumed.


                   Grace's Participation in the January 6, 2021, Capitol Riot

       8.      On January 4, Jeremy Grace and his father Jeffrey Grace traveled by airplane

from Battle Ground, Washington, to Washington, D.C. to attend the rally for President Donald

Trump on January 6.

       9.     At or about the time the rally ended on January 6, Grace and his father walked

with others toward the U.S. Capitol Building. On the grounds outside the U.S. Capitol Building,

Grace and his father were behind the front line of individuals who were confronting barricades,




                                           Page 3 of6
        Case 1:21-cr-00492-RDM Document 31 Filed 04/08/22 Page 4 of 6




and law enforcement officers standing near those barricades, as the barricades were being

knocked over.

 10.
                                  -
                At approximately 2:23 p.m., Grace and his father entered the U.S. Capitol

Building from a north west side entrance via a Senate wing door. They were among the first

wave of individuals to enter the building. Once inside, they walked together to the Rotunda.

They entered the Rotunda at approximately 2:25 p.m. from the north entrance and remained

inside the Rotunda for approximately five minutes. As they exited the Rotunda at

approximately 2:30 p.m., Grace picked up a stanchion and velvet rope that had been knocked

over. In order to exit, Grace and his father climbed out a broken window, adjacent to the door



                                                           ---
through which they initially entered. At approx.imalt,ly '.2:J l p.m., they exited the U.S. Capitol

Building.

 11.            Both inside and outside the U.S. Capitol Building, Grace recorded several selfie-

style videos. He later sent these videos to his father. Both Grace and his father then deleted the

videos on or before January 8, 2021. In one, taken at approximately 2: 18 p.m ., Grace recorded a

video that depicted his father and him outside the U.S. Capitol Building, while both repeatedly

chanted, "Our house." In another, taken at approximately 2:25 p.m., Grace recorded a video that

depicted his father and him inside the Rotunda. In it Grace stated, "Just made it into the Capitol

here. Oh yeah, oh yeah." His father stated, "It gets no better than this." Grace then stated,

"Freedom." His father replied, "God bless America."

 12.            Grace did unlawfully and knowingly enter and remain in a restricted building and

grounds, that is, any posted, cordoned-off, and otherwise restricted area within the United States

Capitol and its grounds, where the Vice President was temporarily visiting, without lawful

authority to do so.



                                             Page 4 of 6
Case 1:21-cr-00492-RDM Document 31 Filed 04/08/22 Page 5 of 6




                                   Respectfully submitted,


                                   MATTHEW M. GRAYES
                                   United States Attorney
                                   D.C. Bar No. 481052


                           By:     Isl Mona Sedky
                                   Mona Sedky
                                   Special Assistant United States Attorney




                          Page 5 of6
          Case 1:21-cr-00492-RDM Document 31 Filed 04/08/22 Page 6 of 6




                                   DEFENDANT'S ACKNOWL DGMENT

        I, ~ ~ ~ • have read this Statement of the Offense and have discussed it with my
attorney . I fully understand this Statement of the Offense. I agree and acknowledge by my
signature that this Statement of the Offense is true and accurate. I do this voluntarily and of my
own free will. No threats have been made to me nor am I under the influence of anything that
could impede my ability to understand this Statement of the Offense fully.


Date:     "3 -lg -2. 'L




       I have read this Statement of the Offense and have reviewed it with my client fully. I
concur in my client's desire to adopt this Statement of the Offense as true and accurate.



Date:   ----'-;,_-_/i_~_-_,.._~_
                                        Gerald Needham
                                        Attorney for Defendant




                                             Page 6 of 6
